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 1   Mark A. Serlin, CSBN: 122155
     SERLIN & WHITEFORD, LLP
 2   700 E Street
     Sacramento, CA 95814
 3   Telephone:    (916) 446-0790
     Facsimile:    (916) 446-0791
 4   Email: mserlin@globelaw.com
 5   Attorneys for Judgment Creditor
 6   CRYSTAL LEI

 7
 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11   DEMAS YAN,                          )                CASE NO. 3:11-cv-01814-RS
                                         )
12               Appellant,              )
                                         )
13                                       )                PROOF OF SERVICE OF ORDER OF
     vs.                                 )                EXAMINATION ON DEMAS YAN
14                                       )
     TONY FU, CRYSTAL LEI, WEI SUEN, )
15
     BRYANT FU, and STELLA HONG )                         Date: June 27, 2017
                                         )                Time: 9:00 a.m.
16   CHEN,                               )                Ctrm: F
                                         )
17               Appellees.              )
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     ____________________________________________________________________________________________________
     PROOF OF SERVICE                                 1                                      Yan v. Fu, et al.
                                                                                 Case No. 3:11-cv-01814-RS
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